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 8                                   UNITED STATES DISTRICT COURT
 9                                          DISTRICT OF NEVADA
10   COURAGE UHUMWNOMA OSAWE,           )                        Case No. 3:18-cv-00600-RCJ-WGC
                                        )
11                        Plaintiff,    )
                                        )
12        vs.                           )                     DEFENDANTS’ REPLY TO PLAINTIFF’S
                                        )                      OPPOSITION TO MOTION TO STAY
13   DMV INVESTIGATOR JENNIFER TINSLEY; )                               DISCOVERY
     DMV INVESTIGATOR BRIAN BOWLES;     )
14   DMV INVESTIGATOR WILLIAM LYONS; )
     AND DMV SERGEANT TODD PARDINI;     )
15   AND JOHN DOES I THROUGH X,         )
     INCLUSIVE,                         )
16                                      )
                          Defendants.   )
17

18          Defendants Jennifer Tinsley, Brian Bowles, William Lyons, and Todd Pardini, by and through

19   counsel Aaron D. Ford, Attorney General of the State of Nevada, and Nathan L. Hastings, Senior

20   Deputy Attorney General, hereby submit their Reply to Plaintiff’s Opposition to Motion to Stay Discovery.

21          This Reply is made and supported by the attached Memorandum of Points and Authorities and

22   all other papers and pleadings on file herein.

23                          MEMORANDUM OF POINTS AND AUTHORITIES

24          A.      Plaintiff has not Shown that Stay of Discovery is Improper in this Case.

25          Plaintiff argues that discovery should not be stayed in this case, based on his assertion that he

26   cannot present facts “essential to justify his opposition to the Defendants” qualified immunity claims

27   without discovery. (#24 at 2). But this argument ignores the established nature of the material fact that

28   has been presented to support qualified immunity, and misapprehends the standard for qualified

                                                        -1-
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 1   immunity as it applies in this case.

 2          Defendants are entitled to qualified immunity based on their knowledge of evidence (for

 3   purposes of probable cause) as presented at the preliminary hearing before the Sparks Justice Court.

 4   (#10 at 2-4, #11-1). The only material fact in this case, which is that this evidence was presented at the

 5   preliminary hearing, and therefore known by Defendants in connection with their arrest of Plaintiff, is

 6   undisputed. Nothing argued by Plaintiff in his Opposition (#12) to the Motion for Summary Judgment,

 7   or in his Opposition (#24) to the Motion to Stay, even attempts to dispute that this evidence as to

 8   multiple arrest-offense elements, was presented at the preliminary hearing and thus known by

 9   Defendants. Additionally, in opposing Defendants’ Motion for Summary Judgment as to qualified

10   immunity, Plaintiff has failed entirely to cite to any authority whatsoever that would clearly establish

11   beyond debate (for purposes of qualified immunity) that his arrest in this case, while upheld at his

12   preliminary hearing, was without probable cause in violation of his rights. (#12 at 13-141; see also

13   argument at #23 at 8-9).

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     1
15     The only case cited by Plaintiff, in arguing specifically that Defendants’ conduct in arresting him is
     not entitled to qualified immunity, is Scott v. City of San Bernandino, 903 F.3d 943, 949, (9th Cir.
16   2018). (#12 at 14). But Scott could not be more inapposite. In that case, a school police resource officer
     arrested multiple 7th grade students solely because he determined that they were not being cooperative
17   with him. (Scott, 903 F.3d at 946). The court’s discussion of officer conduct as addressed in Scott does
     not constitute authority that would put a reasonable officer in Defendants’ position on notice that it was
18   beyond debate that the circumstances of their arrest of Plaintiff in this case would be clearly unlawful.
     See Anderson v. Creighton, 483 U.S. 635, 640-41, 107 S. Ct. 3034, 3039-40 (1987), where the Court of
19   Appeals was overruled for applying qualified immunity analysis similar to Plaintiff’s arguments in this
     case:
20
                    Anderson contends that the Court of Appeals misapplied these principles.
21                  We agree. The Court of Appeals' brief discussion of qualified immunity
                    consisted of little more than an assertion that a general right Anderson
22                  was alleged to have violated—the right to be free from warrantless
                    searches of one's home unless the searching officers have probable cause
23                  and there are exigent circumstances—was clearly established. The Court
                    of Appeals specifically refused to consider the argument that it
24                  was not clearly established that the circumstances with which Anderson
                    was confronted did not constitute probable cause and exigent
25                  circumstances. The previous discussion should make clear that this refusal
                    was erroneous. It simply does not follow immediately from the
26                  conclusion that it was firmly established that warrantless searches not
                    supported by probable cause and exigent circumstances violate the
27                  Fourth Amendment that Anderson's search was objectively legally
                    unreasonable. We have recognized that it is inevitable that law
28                  enforcement officials will in some cases reasonably but mistakenly
                    conclude that probable cause is present, and we have indicated that in
                    such cases those officials —like other officials who act in ways they
                                                       -2-
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 1          As Plaintiff acknowledges (#24 at 2), Defendants’ Motion to Stay cites several cases for the

 2   general proposition that when a preliminary and threshold qualified immunity defense has been brought

 3   in a motion for summary judgment, discovery should be stayed until the qualified immunity defense has

 4   been decided, to spare defendants from the burdens of pretrial matters such as discovery. (#17 at 1-22).

 5           In arguing that this general rule should not apply, Plaintiff cites to Anderson v. Creighton,

 6   483 U.S. 635, 646, 107 S. Ct. 3034, 3042 (1987) and McMillen v. Windham, No. 3:16-cv-558, 2018

 7   WL 652830, at *2-3 (W.D.Ky.Jan.31, 2018), for the proposition that “[t]here is no absolute rule as to

 8   whether the issue of qualified immunity must be resolved prior to permitting discovery.” (#24 at 2-3).

 9   However, these are misleading citations. Anderson’s majority opinion and holdings do not support

10   allowing discovery in this case, and McMillen3 is a highly distinguishable case from a non-governing

11   circuit. In Anderson, the United States Supreme Court vacated the Court of Appeals’ reversal of a

12   district court’s grant of summary judgment for qualified immunity. Anderson, 483 U.S. at 646. One of

13   the Court of Appeals’ holdings was that factual disputes requiring discovery precluded summary

14   judgment. Id. at 637-38. In declining to uphold the Court of Appeals as to the discovery issue and in

15

16                   reasonably believe to be lawful—should not be held personally liable.
                     Anderson, 483 U.S. at 640-41, emphasis added, citations omitted.
     2
17     See citations to Siegert v. Gilley, 500 U.S. 226, 232 (1991); Behrens v. Pelletier, 516 U.S. 299, 308
     (1996); Crawford-El v. Britton, 523 U.S. 574, 590 (1998); Harlow v. Fitzgerald, 457 U.S. 800, 818
18   (1982); Little v. City of Seattle, 863 F.2d, 681, 685 (9th Cir.1988); Harris v. Thom, 481 F. App’x 394,
     395 (9th Cir. 2012); and Zamora v. City of Belen, 229 F.R.D. 225, 228 (D.N.M. 2005).
     3
19     The circumstances of the McMillan case were very different from this case. First, McMillan was not a
     case involving arrest for an underlying criminal charge (2017 WL 6996255); therefore, there was no
20   record akin to what we have here: a preliminary hearing to establish what knowledge of evidence the
     arresting officers had in making their arrest. Here, there is a transcript of such a hearing to obviate the
21   need for the discovery the court found necessary in McMillan. (#10 at 2-4, #11-1). In McMillan, the
     Court’s rationale for allowing discovery despite a pending qualified immunity defense included the
22   following differences from this case: 1- that it was appropriate to allow discovery on factual issues
     raised in a defendant’s motion to dismiss, McMillan, 2018 WL 652830 at 2. Here, the only factual
23   matter raised in Defendants’ Motion for Summary Judgment is the transcript of the preliminary hearing,
     which is self-authenticating and its content is not disputed by Plaintiff.; 2- that there were independent
24   claims that would survive a grant of qualified immunity, so discovery should at least be allowed as to
     those, (Id.) . Here, there are no independent claims that will survive if Defendants’ qualified immunity
25   defense is upheld. 3- that the qualified immunity arguments in that case were brought by a rule 12(b)
     motion to dismiss, rather than in a summary judgment motion, (Id. at 3). Here, Defendants are entitled
26   to summary judgment based on their knowledge of evidence as shown from the preliminary hearing,
     their motion is not a rule 12 dismissal motion; and 4- Primarily, the Court reasoned that defendants in
27   that case were not entitled to stay of discovery because they conceded that prior to seeking such stay,
     they had served written discovery requests to the plaintiff and had participated in a deposition of a
28   witness, thereby demonstrating that they were amenable to participating in discovery in spite of the
     arguments in their motion to stay, (Id.). Here, consistent with the arguments of their motion to stay,
     Defendants have not engaged in any discovery.
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 1   rejecting an argument akin to Plaintiff’s in this case, the Supreme Court reasoned as follows:

 2                    Noting that no discovery has yet taken place, the Creightons renew their
                      argument that, whatever the appropriate qualified immunity standard,
 3                    some discovery would be required before Anderson's summary judgment
                      motion could be granted. We think the matter somewhat more
 4                    complicated. One of the purposes of the Harlow qualified immunity
                      standard is to protect public officials from the “broad-ranging
 5                    discovery” that can be “peculiarly disruptive of effective government.”
                      457 U.S., at 817, 102 S.Ct., at 2737–2738 (footnote omitted). For this
 6                    reason, we have emphasized that qualified immunity questions should
                      be resolved at the earliest possible stage of a litigation. Id., at 818, 102
 7                    S.Ct., at 2738. See also Mitchell v. Forsyth, 472 U.S. 511, 526, 105 S.Ct.
                      2806, 2815, 86 L.Ed.2d 411 (1985). Thus, on remand, it should first be
 8                    determined whether the actions the Creightons allege Anderson to
                      have taken are actions that a reasonable officer could have believed
 9                    lawful. If they are, then Anderson is entitled to dismissal prior to
                      discovery. Cf. ibid. If they are not, and if the actions Anderson claims he
10                    took are different from those the Creightons allege (and are actions that a
                      reasonable officer could have believed lawful), then discovery may be
11                    necessary before Anderson's motion for summary judgment on qualified
                      immunity grounds can be resolved. Of course, any such discovery should
12                    be tailored specifically to the question of Anderson's qualified immunity.
13   Anderson, 483 U.S. at 646, n.6, emphasis added
14             As just cited, the Anderson majority first supported and emphasized the rationale of the cases

15   Defendants have cited4 for limiting burdensome discovery until qualified immunity is resolved. (Id.).

16   Then the Court held that on remand, the defendant was entitled to dismissal prior to discovery, upon

17   an initial determination that the officers could have reasonably believed that actions to be lawful. (Id.).

18   In this case, the threshold defense raised by Defendants, that they reasonably believed their arrest to be

19   lawful, constitutes the same initial, pre-discovery, court-made determination required by Anderson.

20   Here, as made clear by the preliminary hearing transcript, there is no dispute as to the actions of

21   Defendants – the arrest was made on the date referenced pursuant to the evidence described in the

22   preliminary hearing. Anderson does not support Plaintiff’s position that he is entitled to discovery prior

23   to a ruling on Defendants’ qualified immunity defense.

24             Defendants openly concede that there are surely many cases where the factual bases to support

25   and/or refute a qualified immunity defense may not be known to a defendant or a plaintiff prior to

26   discovery. In such cases, the qualified immunity defense is unlikely to be brought as a threshold

27   preliminary defense, but rather in a post-discovery motion. But this is not such a case. Because the

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     4
         See n. 2.
                                                          -4-
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 1   factual issues regarding qualified immunity are firmly established by the preliminary hearing, they are

 2   known and have been equally available to all parties since the time of that preliminary hearing.

 3   Therefore, no additional discovery is warranted as to Defendants’ threshold qualified immunity defense

 4   in this case.

 5           Plaintiff asserts that he needs to conduct discovery as to issues including phone records from the

 6   actual date of arrest, records of communications between Defendants, and circumstances surrounding

 7   the so-called ‘sting operation’ at which he was arrested5. (#24 at 2-3). Plaintiff has not shown that the

 8   discovery he would like to conduct might result in evidence to refute the material fact from the

 9   preliminary hearing, already presented to support Defendants’ qualified immunity. In reality, Plaintiff is

10   arguing that he wants to depose and serve other discovery to “re-cross examine” Defendants’

11   preliminary hearing testimony, as if the oath they took on December 7, 2017, was insufficient to

12   support whether they actually had knowledge of the matters testified to that day. In a case such as this,

13   the factual matters regarding known evidence were adequately developed at the preliminary hearing for

14   purposes of qualified immunity analysis. Consistent with the majority’s rationale in Anderson, a § 1983

15   suit should not be permitted to function as a supplemental vehicle to use discovery as a burdensome

16   fishing expedition to determine if Defendants may have known additional evidence, now viewed in

17   hindsight of a State Justice Court’s upholding of charges, and then District Court’s subsequent

18   dismissal of charges, to be used to nit-pick and second guess the decisions of officers that were

19   reasonable in light of existing authority and evidence at the time they were made.

20           Defendants’ Motion to Stay Discovery should be granted

21           DATED this 11th day of March, 2019.

22                                                AARON D. FORD
                                                  Attorney General
23
                                                  By:     /s/ Nathan L Hastings
24                                                        NATHAN L. HASTINGS
                                                          Senior Deputy Attorney General
25                                                        Attorney for Defendants
26
     5
27     Defendants have shown that Plaintiff has given undue weight to the circumstances of the so-called
     sting operation on the date of his arrest. (See #23 at 7-8). Probable cause need not be tied to that
28   incident; for purposes of the qualified immunity analysis in this case, prior to the date of arrest, there
     was already sufficient probable cause as to multiple statutory offense elements to support arrest,
     independent of the circumstances related to the vehicle at issue on the date of the arrest. (Id.).
                                                       -5-
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 1                                       CERTIFICATE OF SERVICE

 2          I certify that I am an employee of the Office of the Attorney General, State of Nevada, and that

 3   on March 11, 2019, I filed the foregoing document via this Court’s electronic filing system. Parties that

 4   are registered with this Court’s EFS will be served electronically as follows:

 5
            Luke Andrew Busby, Ltd.
 6          316 California Avenue
            Reno, NV 89509
 7

 8                                                        /s/Barbara D. Cozens
                                                          An Employee of the
 9                                                        Office of the Attorney General
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